3/6/2019                                     Loevy
                Case: 1:17-cv-08291 Document #:    & Loevy
                                                111-3      Mail - Jaimes:
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                                                                                PageUp 1 of 2 PageID #:658



                                                                                      Danielle Hamilton <hamilton@loevy.com>



  Jaimes: Following Up
  Danielle Hamilton <hamilton@loevy.com>                                                             Wed, Feb 6, 2019 at 10:37 AM
  To: Elizabeth Ekl <eekl@reiterburns.com>
  Cc: Michael Kanovitz <mike@loevy.com>, Katie Roche <katie@loevy.com>

    Beth,

    I'm following up with you regarding my email from two weeks ago. The judge would like to us to come up with a deposition
    schedule for next week's status, and the outstanding discovery will be necessary for any upcoming depositions. Please
    confirm no later than this Friday that we'll receive the outstanding discovery by 2/14, otherwise we'll plan to raise the
    issue at the status.

    Thanks,
    Danielle

    On Tue, Jan 22, 2019 at 2:22 PM Danielle Hamilton <hamilton@loevy.com> wrote:
    [Quoted text hidden]




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3/6/2019                                     Loevy
                Case: 1:17-cv-08291 Document #:    & Loevy
                                                111-3      Mail - Jaimes:
                                                        Filed:    03/06/19Following
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                                                                                     Danielle Hamilton <hamilton@loevy.com>



  Jaimes: Following Up
  Elizabeth Ekl <eekl@reiterburns.com>                                                              Wed, Feb 6, 2019 at 10:43 AM
  To: Danielle Hamilton <hamilton@loevy.com>
  Cc: Michael Kanovitz <mike@loevy.com>, Katie Roche <katie@loevy.com>

    I received a number of materials over the last couple of days. They just need to be prepared for disclosure. So I will be
    producing them shortly. I agree we need to talk about depositions. I can do that late afternoon today, if you are available.
     We also need to discuss special rep.

    Sent from my iPhone
    [Quoted text hidden]




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